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                    Exhibit 9
                          Case 3:16-cr-00411-VC Document 116-9 Filed 09/19/17 Page 2 of 3
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                                 640x480, 30 Hz, 17 µm, 1,7x
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                                                                                   02.10.2014
 Матрица
 Тип сенсора                           неохлаждаемая                      Международная выставка «ARMS & Hunting 2014»
                                       микроболометрическая матрица (FPA)
 Частота , Гц                          25-30
 Разрешение                            640х480                            Приглашаем Вас посетить наш стенд F52 на
 Размер пикселя , мкм                  17                                 Международной выставке «ARMS & Hunting 2014»,
                                                                          которая будет проходить с 09 по 12 октября в
 Спектральный диапазон                 8÷14
                                                                          выставочном комплексе Гостиный двор г. Москва.
 , мкм
                                              www.infratech.ru/en/produkciya/88/                  Go                    JUN   JUL
 Чувствительность , мК                 <50                                         01.07.2014

https://web.archive.org/web/20150716032515/www.infratech.ru/en/produkciya/88/                                         Page 1 of 2
                          Case 3:16-cr-00411-VC Document 116-9 Filed 09/19/17 Page 3 of 3
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 Принцип калибровки
 Оптика
                    2 captures
                                    без затвора
                                                                                                        16
                    14 Jul 2015 - 16 Jul 2015                                                     2014 2015
 Объектив                           50 мм, F/1,18
 Минимальная дистанция              5                                01.02.2013
 фокусировки , м
 Оптическое увеличение              1,7                              Thermal sught
 , крат
 Цифровое увеличение                х2, х4, х8
 Угол поля зрения , град            12,6х9,4                         01.02.2013
 Шаг выверки , см/100м              2,8
                                                                     The new site
 Диоптрийная настройка              -5...+2
 Удаление выходного зрачка 55
 , мм
 Электроника
 Тип дисплея                        AMOLED (цветной)
 Разрешение дисплея                 800х600
 Видеовыход                         PAL/NTSC
 Питание , В                        3÷6
 Источник питания                   2х RCR123A
 Эксплуатационные параметры
 Диапазон температур , °С           -40...+60
 Относительная влажность            98
 ,%
 Ударная нагрузка , g               800
 Степень защиты                     IP67
 Габаритные размеры , мм            235х65х63
 Вес , кг                           0,65
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